Case 2:20-cv-08696-JFW-KS Document 9-1 Filed 09/23/20 Page 1 of 13 Page ID #:45




                               Exhibit A
9/23/2020 Case    2:20-cv-08696-JFW-KS Document 9-1 - California
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                                     Query       Reports          Utilities   Help    Log Out

                                                                  ACCO,(PJWx),CLOSED,DISCOVERY,MANADR,PROTORD

                          UNITED STATES DISTRICT COURT
             CENTRAL DISTRICT OF CALIFORNIA (Western Division - Los Angeles)
                   CIVIL DOCKET FOR CASE #: 2:14-cv-07961-SJO-PJW


 BMW of North America, LLC et al v. Autosports European, Inc. et                     Date Filed: 10/15/2014
 al                                                                                  Date Terminated: 01/29/2016
 Assigned to: Judge S. James Otero                                                   Jury Demand: Both
 Referred to: Magistrate Judge Patrick J. Walsh                                      Nature of Suit: 840 Trademark
 Cause: 15:1114 Trademark Infringement                                               Jurisdiction: Federal Question
 Plaintiff
 BMW of North America, LLC                                            represented by Christopher Dain Johnson
 a Delaware Limited Liability Company                                                Johnson and Pham LLP
                                                                                     6355 Topanga Canyon Boulevard Suite 326
                                                                                     Woodland Hills, CA 91367
                                                                                     818-888-7540
                                                                                     Fax: 818-888-7544
                                                                                     Email: cjohnson@johnsonpham.com
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Christopher Q Pham
                                                                                     Johnson and Pham LLP
                                                                                     6355 Topanga Canyon Boulevard Suite 326
                                                                                     Woodland Hills, CA 91367
                                                                                     818-888-7540
                                                                                     Fax: 818-888-7544
                                                                                     Email: cpham@johnsonpham.com
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Jason Robert Vener
                                                                                     Johnson and Pham LLP
                                                                                     6355 Topanga Canyon Boulevard Suite 326
                                                                                     Woodland Hills, CA 91367
                                                                                     818-888-7540
                                                                                     Fax: 818-888-7544
                                                                                     Email: jvener@johnsonpham.com
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Marcus F Chaney
                                                                                     Johnson and Pham LLP
                                                                                     6355 Topanga Canyon Boulevard Suite 326
                                                                                     Woodland Hills, CA 91367
                                                                                     818-888-7540
                                                                                     Fax: 818-888-7544
                                                                                     Email: mchaney@johnsonpham.com
                                                                                     ATTORNEY TO BE NOTICED
 Plaintiff
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?723738357073845-L_1_0-1                                                    1/12
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 Bayerische Motoren Werke AG                                          represented by Christopher Dain Johnson
 a German Corporation                                                                (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                    Christopher Q Pham
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Jason Robert Vener
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Marcus F Chaney
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED


 V.
 Defendant
 Autosports European, Inc.
 a California Corporation
 TERMINATED: 06/12/2015
 Defendant
 EG Savings, Inc.                                                     represented by Jennifer So Young Chang
 a California Corporation                                                            Ryu Law Firm
 TERMINATED: 10/21/2015                                                              5900 Wilshire Boulevard Suite 2250
 doing business as                                                                   Los Angeles, CA 90036
 Audiocitywheels                                                                     323-931-5270
 TERMINATED: 10/21/2015                                                              Fax: 323-931-5271
                                                                                     Email: jennifer@ryulaw.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                    Francis S Ryu
                                                                                    Ryu Law Firm
                                                                                    915 Wilshire Boulevard Suite 1775
                                                                                    Ste 1775
                                                                                    Los Angeles, CA 90017
                                                                                    323-931-5270
                                                                                    Fax: 323-931-5271
                                                                                    Email: francis@ryulaw.com
                                                                                    ATTORNEY TO BE NOTICED
 Defendant
 Sportrak, Inc.
 a California Corporation
 TERMINATED: 01/29/2015
 doing business as
 Wheel Plus
 TERMINATED: 01/29/2015
 Defendant
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?723738357073845-L_1_0-1                                                   2/12
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 Tommy Tim
 an Individual
 TERMINATED: 04/27/2015
 doing business as
 SD Tires
 TERMINATED: 04/27/2015
 Defendant
 Unlimited Automobile Products, LLC
 a California Limited Liability Company
 TERMINATED: 03/26/2015

 Defendant
 Does
 1-10, inclusive
 Defendant
 Mai Le-Tran
 TERMINATED: 04/27/2015
 doing business as
 SD Tires
 TERMINATED: 04/27/2015
 Defendant
 Thanh Nguyen
 TERMINATED: 04/27/2015
 doing business as
 SD Tires
 TERMINATED: 04/27/2015
 Defendant
 Thanh Ngoc Tran
 TERMINATED: 04/27/2015
 doing business as
 SD Tires
 TERMINATED: 04/27/2015
 doing business as
 NCW Tires
 TERMINATED: 04/27/2015
 Defendant
 Ruben Aceves
 TERMINATED: 07/22/2015
 doing business as
 Unleashed Wheels
 TERMINATED: 07/22/2015

 Defendant
 EUDM Autosports, Inc.                                                represented by Leon Emmanuel Jew
 TERMINATED: 11/16/2015                                                              Dahyee Law Group
                                                                                     5776 Stoneridge Mall Road Suite 288
                                                                                     Pleasanton, CA 94588
                                                                                     925-463-3288
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?723738357073845-L_1_0-1                                                    3/12
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                                                                    Fax: 925-463-3218
                                                                    Email: Ljewpt@yahoo.com
                                                                    ATTORNEY TO BE NOTICED

 Defendant
 Inovit, Inc.                                                         represented by Jeffrey A Kobulnick
                                                                                     Brutzkus Gubner
                                                                                     21650 Oxnard Street Suite 500
                                                                                     Woodland Hills, CA 91367
                                                                                     818-827-9000
                                                                                     Fax: 818-827-9099
                                                                                     Email: jkobulnick@bg.law
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                    Joseph M Rothberg
                                                                                    Brutzkus Gubner
                                                                                    21650 Oxnard Street, Suite 500
                                                                                    Woodland Hills, CA 91367
                                                                                    818-827-9000
                                                                                    Fax: 818-827-9099
                                                                                    Email: jrothberg@bg.law
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Mark D Brutzkus
                                                                                    Brutzkus Gubner Rozansky Seror Weber
                                                                                    LLP
                                                                                    21650 Oxnard Street Suite 500
                                                                                    Woodland Hills, CA 91367
                                                                                    818-827-9000
                                                                                    Fax: 818-827-9099
                                                                                    Email: mbrutzkus@bg.law
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

 Defendant
 Does 1-10, inclusive,

 Mediator (ADR Panel)
 K. Andrew Kent


  Date Filed            #    Docket Text
  10/15/2014             1 COMPLAINT Receipt No: 0973-14616795 - Fee: $400, filed by Plaintiff BMW of North
                           America, LLC, Bayerische Motoren Werke AG. (Attorney Marcus F Chaney added to
                           party BMW of North America, LLC(pty:pla), Attorney Marcus F Chaney added to party
                           Bayerische Motoren Werke AG(pty:pla))(Chaney, Marcus) (Entered: 10/15/2014)
  10/15/2014             2 CIVIL COVER SHEET filed by Plaintiffs BMW of North America, LLC, Bayerische
                           Motoren Werke AG. (Chaney, Marcus) (Entered: 10/15/2014)
  10/15/2014             3 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case Opening), 1 filed
                           by Plaintiff BMW of North America, LLC, Bayerische Motoren Werke AG. (Chaney,
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?723738357073845-L_1_0-1                                                    4/12
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                          Marcus) (Entered: 10/15/2014)
  10/15/2014             4 NOTICE of Interested Parties filed by Plaintiff BMW of North America, LLC, Bayerische
                           Motoren Werke AG, (Chaney, Marcus) (Entered: 10/15/2014)
  10/15/2014             5 CORPORATE DISCLOSURE STATEMENT filed by Plaintiffs BMW of North America,
                           LLC, Bayerische Motoren Werke AG (Chaney, Marcus) (Entered: 10/15/2014)
  10/15/2014             6 REPORT ON THE FILING OF AN ACTION Regarding a Patent or a Trademark (Initial
                           Notification) filed by BMW of North America, LLC, Bayerische Motoren Werke AG.
                           (Chaney, Marcus) (Entered: 10/15/2014)
  10/15/2014             7 NOTICE OF ASSIGNMENT to District Judge S. James Otero and Magistrate Judge
                           Patrick J. Walsh. (jp) (Entered: 10/15/2014)
  10/15/2014             8 NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed. (jp) (Entered:
                           10/15/2014)
  10/15/2014             9 21 DAY Summons Issued re Complaint (Attorney Civil Case Opening) 1 as to Defendants
                           Autosports European, Inc., EG Savings, Inc., Sportrak, Inc., Tommy Tim, Unlimited
                           Automobile Products, LLC. (jp) (Entered: 10/15/2014)
  11/03/2014           10 PROOF OF SERVICE Executed by Plaintiff BMW of North America, LLC, Bayerische
                          Motoren Werke AG, upon Defendant Autosports European, Inc. served on 10/22/2014,
                          answer due 11/12/2014. Service of the Summons and Complaint were executed upon
                          Michael Teufenkjian, Agent for Service in compliance with California Code of Civil
                          Procedure by service on a domestic corporation, unincorporated association, or public
                          entity. Original Summons NOT returned. (Chaney, Marcus) (Entered: 11/03/2014)
  11/03/2014           11 PROOF OF SERVICE Executed by Plaintiff BMW of North America, LLC, Bayerische
                          Motoren Werke AG, upon Defendant EG Savings, Inc. served on 11/1/2014, answer due
                          11/22/2014. Service of the Summons and Complaint were executed upon Gilbert Doe,
                          Manager in compliance with California Code of Civil Procedure by substituted service on
                          a domestic corporation, unincorporated association, or public entity and by also mailing a
                          copy. Original Summons NOT returned. (Chaney, Marcus) (Entered: 11/03/2014)
  11/03/2014           12 PROOF OF SERVICE Executed by Plaintiff BMW of North America, LLC, Bayerische
                          Motoren Werke AG, upon Plaintiff Sportrak, Inc. served on 11/2/2014, answer due
                          11/23/2014. Service of the Summons and Complaint were executed upon David Ortiz,
                          Manager in compliance with California Code of Civil Procedure by substituted service on
                          a domestic corporation, unincorporated association, or public entity and by also mailing a
                          copy. Original Summons NOT returned. (Chaney, Marcus) (Entered: 11/03/2014)
  11/03/2014           13 PROOF OF SERVICE Executed by Plaintiff BMW of North America, LLC, Bayerische
                          Motoren Werke AG, upon Defendant Tommy Tim served on 10/30/2014, answer due
                          11/20/2014. Service of the Summons and Complaint were executed upon Tony Tran,
                          Manager in compliance with California Code of Civil Procedure by substituted service at
                          business address and by also mailing a copy. Original Summons NOT returned. (Chaney,
                          Marcus) (Entered: 11/03/2014)
  11/03/2014           14 PROOF OF SERVICE Executed by Plaintiff BMW of North America, LLC, Bayerische
                          Motoren Werke AG, upon Defendant Unlimited Automobile Products, LLC served on
                          10/27/2014, answer due 11/17/2014. Service of the Summons and Complaint were
                          executed upon Sam Cheung, Manager in compliance with California Code of Civil
                          Procedure by substituted service on a domestic corporation, unincorporated association, or
                          public entity and by also mailing a copy. Original Summons NOT returned. (Chaney,
                          Marcus) (Entered: 11/03/2014)
  11/04/2014           15 INITIAL STANDING ORDER upon filing of the complaint by Judge S. James Otero.
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?723738357073845-L_1_0-1                                                5/12
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                          (vcr) (Entered: 11/04/2014)
  11/12/2014           16 STIPULATION Extending Time to Answer the complaint as to Autosports European, Inc.
                          answer now due 11/26/2014, re Complaint (Attorney Civil Case Opening), 1 filed by
                          Plaintiffs BMW of North America, LLC; Bayerische Motoren Werke AG.(Chaney,
                          Marcus) (Entered: 11/12/2014)
  11/20/2014           17 STIPULATION Extending Time to Answer the complaint as to Sportrak, Inc. answer now
                          due 12/24/2014, re Complaint (Attorney Civil Case Opening), 1 filed by Plaintiffs BMW
                          of North America, LLC; Bayerische Motoren Werke AG.(Chaney, Marcus) (Entered:
                          11/20/2014)
  11/21/2014           18 ANSWER to Complaint (Attorney Civil Case Opening), 1 JURY DEMAND. Answers to
                          Complaint filed by Defendant EG Savings, Inc. EG Savings, Inc..(Attorney Francis S Ryu
                          added to party EG Savings, Inc.(pty:dft))(Ryu, Francis) (Entered: 11/21/2014)
  11/25/2014           19 21 DAY Summons Issued re Amended Complaint (SEE CLERICAL ERROR: Docketed
                          on this case in error, should be under CV 14-8120 DDP(MANx) Guevara vs County of
                          LA. (lc) Modified on 11/25/2014 (lc). (Entered: 11/25/2014)
  11/25/2014           20 NOTICE OF CLERICAL ERROR: Due to clerical error Re: Summons Issued 19
                          Docketed on this case in error, should be under CV 14-8120 DDP(MANx) Guevara vs
                          County of LA. (lc) (Entered: 11/25/2014)
  11/25/2014           21 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: EG
                          Savings, Inc. Answer to Complaint 18 . The following error(s) was found: Case number is
                          missing official Judge and Magistrate initials: SJO(PJWx).Local Rule 7.1-1 No Notice of
                          Interested Parties and/or no copies. In response to this notice the court may order (1) an
                          amended or correct document to be filed (2) the document stricken or (3) take other action
                          as the court deems appropriate. You need not take any action in response to this notice
                          unless and until the court directs you to do so. (lc) (Entered: 11/25/2014)
  12/02/2014           22 Second STIPULATION Extending Time to Answer the complaint as to Autosports
                          European, Inc. answer now due 12/12/2014, re Complaint (Attorney Civil Case Opening),
                          1 filed by Plaintiffs BMW of North America, LLC; Bayerische Motoren Werke AG.
                          (Chaney, Marcus) (Entered: 12/02/2014)
  12/02/2014           23 ANSWER to Complaint (Attorney Civil Case Opening), 1 DEFENDANT EG SAVINGS,
                          INC. dba AUDIOCITYWHEELS ANSWER TO COMPLAINT filed by Defendant EG
                          Savings, Inc..(Ryu, Francis) (Entered: 12/02/2014)
  12/02/2014           24 CERTIFICATION AND NOTICE OF INTERESTED PARTIES (Local Rule 7.1-1)
                          CERTIFICATE of Interested Parties filed by Defendant EG Savings, Inc., (Ryu, Francis)
                          (Entered: 12/02/2014)
  12/03/2014           25 ORDER SETTING SCHEDULING CONFERENCE by Judge S. James Otero. Rule 26
                          Meeting Report due by 1/12/2015. Scheduling Conference set for 1/26/2015 at 08:30 AM
                          before Judge S. James Otero. (vcr) (Entered: 12/03/2014)
  01/12/2015           26 JOINT REPORT Rule 26(f) Discovery Plan ; estimated length of trial 5, filed by Plaintiffs
                          BMW of North America, LLC, Bayerische Motoren Werke AG.. (Chaney, Marcus)
                          (Entered: 01/12/2015)
  01/20/2015           27 INITIAL DISCLOSURE re Joint Report Rule 26(f) Discovery Plan 26 Defendant EG
                          Savings, Inc.'s Initial Disclosure filed by Defendant EG Savings, Inc. (Attachments: # 1
                          Proof of Service)(Ryu, Francis) (Entered: 01/20/2015)
  01/26/2015           28 STIPULATION for Permanent Injunction as to Defendant Sportrak, Inc. d/b/a Wheel Plus
                          filed by Plaintiffs BMW of North America, LLC, Bayerische Motoren Werke AG.
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?723738357073845-L_1_0-1                                              6/12
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                          (Attachments: # 1 Proposed Permanent Injunction and Dismissal as to Defendant Sportrak,
                          Inc. d/b/a Wheel Plus)(Chaney, Marcus) (Entered: 01/26/2015)
  01/26/2015           29 MINUTES OF Scheduling Conference held before Judge S. James Otero:Plaintiff advises
                          the Court that it plans on filing a First Amended Complaint and requests a continuance of
                          this hearing. Plaintiff advises the Court regarding the status of remaining defendants (see
                          document for specifics). The Court grants a continuance of this proceeding to Monday,
                          April 27, 2015 @ 8:30 a.m. The parties shall file a joint status report by April 13, 2015.
                          Plaintiff shall file a First Amended Complaint by Friday, January 30, 2015.Court Reporter:
                          Debbie Hino-Spaan. (lc) (Entered: 01/26/2015)
  01/29/2015           30 PERMANENT INJUNCTION AND DISMISSAL AS TO DEFENDANT SPORTRAK,
                          INC. d/b/a Wheel Plu filed by Judge S. James Otero. No appeals shall be taken from this
                          Permanent Injunction, and the parties waive all rights to appeal. This Court expressly
                          retains jurisdiction over this matter to enforce any violation of the terms of this Permanent
                          Injunction. Each party shall bear their own attorneys' fees and costs incurred in this matter.
                          Upon entry of this Permanent Injunction against Defendant, the case shall be dismissed as
                          to Defendant only, without prejudice. (See attached document for details.) (lom) (Entered:
                          01/29/2015)
  01/30/2015           31 AMENDED COMPLAINT against Defendants Autosports European, Inc., EG Savings,
                          Inc., Tommy Tim, Unlimited Automobile Products, LLC, Mai Le-Tran, Thanh Nguyen,
                          Thanh Ngoc Tran, Ruben Aceves, EUDM Autosports, Inc., Inovit, Inc., Does 1-10,
                          inclusive, amending Complaint (Attorney Civil Case Opening), 1 , filed by Plaintiffs
                          BMW of North America, LLC, Bayerische Motoren Werke AG (Chaney, Marcus)
                          (Entered: 01/30/2015)
  01/30/2015           32 Request for Clerk to Issue Summons on Amended Complaint/Petition, 31 filed by
                          Plaintiffs BMW of North America, LLC, Bayerische Motoren Werke AG. (Chaney,
                          Marcus) (Entered: 01/30/2015)
  01/30/2015           33 Certification and NOTICE of Interested Parties filed by Plaintiffs BMW of North
                          America, LLC, Bayerische Motoren Werke AG, (Chaney, Marcus) (Entered: 01/30/2015)
  02/02/2015           34 NOTICE OF DEFICIENCIES in Request to Issue Summons RE: Summons Request 32 .
                          The following error(s) was found: Proof of service on an Unissued summons is to be
                          removed. No proof should be attached, before Clerk has issued the summons on the First
                          amended complaint. The summons cannot be issued until this defect has been corrected.
                          Please correct the defect and re-file your request. (lc) (Entered: 02/02/2015)
  02/02/2015           35 Request for Clerk to Issue Summons on Amended Complaint/Petition, 31 filed by
                          Plaintiffs BMW of North America, LLC, Bayerische Motoren Werke AG. (Pham,
                          Christopher) (Entered: 02/02/2015)
  02/05/2015           36 21 DAY Summons Issued re First Amended Complaint/Petition, 31 as to Defendants
                          Ruben Aceves, Autosports European, Inc., EG Savings, Inc., EUDM Autosports, Inc.,
                          Inovit, Inc., Mai Le-Tran, Thanh Nguyen, Sportrak, Inc., Tommy Tim, Thanh Ngoc Tran,
                          Unlimited Automobile Products, LLC. (shb) (Entered: 02/05/2015)
  02/05/2015           37 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE:
                          Amended Complaint/Petition, 31 . The following error(s) was found: Other error(s) with
                          document(s) are specified below: Defendant Sportrak, Inc., a California corporation is
                          listed on the caption of the First Amended Complaint, but is not listed in the body of the
                          document.. In response to this notice the court may order (1) an amended or correct
                          document to be filed (2) the document stricken or (3) take other action as the court deems
                          appropriate. You need not take any action in response to this notice unless and until the
                          court directs you to do so. (shb) (Entered: 02/05/2015)

https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?723738357073845-L_1_0-1                                                7/12
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  02/05/2015     38 NOTICE OF CLERICAL ERROR: Due to clerical error Re: Summons Issued, 36 . THE
                     SUMMONS WAS ISSUED IN ERROR AND IS NOT VALID. DEFENDANT
                     SPORTRAK INC., a California corporation appears on the caption of the First Amended
                     Complaint, but does not appear in the body of the document as being an active party. (A
                     deficiency for the First Amended Complaint for correction has been issued.) (shb)
                     (Entered: 02/05/2015)
  02/25/2015           39 ANSWER to Amended Complaint/Petition, 31 DEFENDANT EG SAVINGS, INC. dba
                          AUDIOCITYWHEELS ANSWER TO FIRST AMENDED COMPLAINT filed by Defendant
                          EG Savings, Inc.. (Attachments: # 1 Proof of Service)(Ryu, Francis) (Entered: 02/25/2015)
  02/26/2015           40 CERTIFICATION AND NOTICE OF INTERESTED PARTIES (Local Rule 7.1-1) NOTICE
                          of Interested Parties filed by Defendant EG Savings, Inc., (Ryu, Francis) (Entered:
                          02/26/2015)
  03/12/2015           41 WAIVER OF SERVICE Returned Executed filed by Plaintiffs Bayerische Motoren Werke
                          AG, BMW of North America, LLC. upon Inovit, Inc. waiver sent by Plaintiff on
                          2/10/2015, answer due 4/11/2015. Waiver of Service signed by Jeffrey A. Kobulnick.
                          (Chaney, Marcus) (Entered: 03/12/2015)
  03/14/2015           42 NOTICE OF APPEARANCE of California Attorney General Office LEON E. JEW on
                          behalf of defendant EUDM Autosports, Inc.. (Attorney Leon Emmanuel Jew added to
                          party EUDM Autosports, Inc.(pty:dft))(Jew, Leon) (Entered: 03/14/2015)
  03/24/2015           43 STIPULATION for Permanent Injunction as to Defendant Unlimited Automobile
                          Products, LLC filed by Plaintiffs BMW of North America, LLC, Bayerische Motoren
                          Werke AG. (Attachments: # 1 Proposed Permanent Injunction and Dismissal as to
                          Defendant Unlimited Automobile Products, LLC, a California Limited Liability Company)
                          (Chaney, Marcus) (Entered: 03/24/2015)
  03/26/2015           44 PERMANENT INJUNCTION AND DISMISSAL AS TO DEFENDANT UNLIMITED
                          AUTOMOBILE PRODUCTS, LLC, A CALIFORNIA LIMITED LIABILITY
                          COMPANY by Judge S. James Otero (lc) (Entered: 03/27/2015)
  03/31/2015           45 PROOF OF SERVICE Executed by Plaintiff Bayerische Motoren Werke AG, BMW of
                          North America, LLC, upon Defendant Ruben Aceves served on 3/24/2015, answer due
                          4/14/2015. Service of the Summons and Complaint were executed upon Ruben Aceves in
                          compliance with California Code of Civil Procedure by personal service. Original
                          Summons NOT returned. (Chaney, Marcus) (Entered: 03/31/2015)
  04/03/2015           46 [DOCUMENT STRICKEN PURSUANT TO ORDER G-106-E-FILED 4/13/2015] -
                          NOTICE OF MOTION AND First MOTION for Extend Time to File Answer to
                          4/17/2015 filed by defendant EUDM Autosports, Inc.. (Attachments: # 1 Declaration, # 2
                          Proposed Order)(Jew, Leon) Modified on 4/16/2015 (shb). (Entered: 04/03/2015)
  04/10/2015           47 ANSWER to Amended Complaint/Petition, 31 filed by Defendant Inovit, Inc..(Attorney
                          Jeffrey A Kobulnick added to party Inovit, Inc.(pty:dft))(Kobulnick, Jeffrey) (Entered:
                          04/10/2015)
  04/10/2015           48 NOTICE of Interested Parties filed by Defendant Inovit, Inc., (Kobulnick, Jeffrey)
                          (Entered: 04/10/2015)
  04/10/2015           49 CORPORATE DISCLOSURE STATEMENT filed by Defendant Inovit, Inc. (Kobulnick,
                          Jeffrey) (Entered: 04/10/2015)
  04/13/2015           50 JOINT REPORT Rule 26(f) Discovery Plan ; estimated length of trial 10 days, filed by
                          Plaintiffs BMW of North America, LLC, Bayerische Motoren Werke AG.. (Chaney,
                          Marcus) (Entered: 04/13/2015)

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                                                                   Central District

  04/13/2015    52 ORDER by Judge S. James Otero: the following document(s) be STRICKEN for failure to
                     comply with the Local Rules, General Order and/or the Courts Case Management Order:
                     First MOTION for Extend Time to File Answer to 4/17/2015 46 , for the following
                     reasons: Failure to comply with Local Rule L.R. 5-4.4 Submission of Proposed Orders,
                     Judgments, or Other Proposed Documents That Require a Judges Signature., and Local
                     Rule 5-4.5 Mandatory Chambers Copies; (shb) (Entered: 04/16/2015)
  04/16/2015           51 PROOF OF SERVICE Executed by Plaintiff Bayerische Motoren Werke AG, BMW of
                          North America, LLC, upon Defendant Autosports European, Inc. served on 4/6/2015,
                          answer due 4/27/2015. Service of the Summons and Complaint were executed upon
                          Michael Teufenkjian, Agent for Service in compliance with California Code of Civil
                          Procedure by service on a domestic corporation, unincorporated association, or public
                          entity. Original Summons NOT returned. (Chaney, Marcus) (Entered: 04/16/2015)
  04/17/2015           53 First STIPULATION Extending Time to Answer the complaint as to Ruben Aceves
                          answer now due 5/1/2015, re Amended Complaint/Petition, 31 filed by Plaintiffs
                          Bayerische Motoren Werke AG; BMW of North America, LLC. (Attachments: # 1
                          Proposed Order Extending Defendant Ruben Aceves D/B/A Unleashed Wheels' Tiem to
                          Respond to First Amended Complaint)(Chaney, Marcus) (Entered: 04/17/2015)
  04/17/2015           54 ANSWER filed by defendant EUDM Autosports, Inc..(Jew, Leon) (Entered: 04/17/2015)
  04/17/2015           55 STATEMENT of disclosure First MOTION for Extend Time to File Answer to 4/17/2015
                          46 filed by Defendant EUDM Autosports, Inc.. (Jew, Leon) (Entered: 04/17/2015)
  04/20/2015           56 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE:EUDM
                          Autosport Answer to Complaint 54 Statement (Motion related) 55 ,. The following error(s)
                          was found: Incorrect event selected re #55,The correct event is: disclosure re # 55. Re
                          #54,Local Rule 7.1-1 No Notice of Interested Parties and/or no copies. In response to this
                          notice the court may order (1) an amended or correct document to be filed (2) the
                          document stricken or (3) take other action as the court deems appropriate. You need not
                          take any action in response to this notice unless and until the court directs you to do so.
                          (lc) (Entered: 04/20/2015)
  04/21/2015           57 ORDER granting Stipulation 53 Defendant Ruben Aceves d/b/a Unleashed Wheels due
                          date to file an Answer to Plaintiffs First Amended Complaint is hereby extended from
                          April 14, 2015 to Friday, May 1, 2015 by Judge S. James Otero (lc) (Entered: 04/21/2015)
  04/22/2015           58 REQUEST for Order for Regarding Appearance of Counsel at Scheduling Conference
                          filed by Defendant Inovit, Inc.. Request set for hearing on 4/27/2015 at 08:30 AM before
                          Judge S. James Otero. (Attachments: # 1 Proposed Order)(Kobulnick, Jeffrey) (Entered:
                          04/22/2015)
  04/23/2015           59 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE:
                          REQUEST for Order for Regarding Appearance of Counsel at Scheduling Conference 58 .
                          The following error(s) was found: Erroneous 4/27/15 8:30 AM Hearing set on Motion
                          calendar, the hearing of which does not appear on the pdf document, nor is one required
                          for the format used. In response to this notice the court may order (1) an amended or
                          correct document to be filed (2) the document stricken or (3) take other action as the court
                          deems appropriate. You need not take any action in response to this notice unless and until
                          the court directs you to do so. (lc) (Entered: 04/23/2015)
  04/24/2015           60 ORDER by Judge S. James Otero: granting 58 Defendant Inovit, Inc's Request for Another
                          Attorney to Appear at Scheduling Conference. (shb) (Entered: 04/24/2015)
  04/27/2015           61 MINUTES OF Scheduling Conference held before Judge S. James Otero, The Court
                          GRANTS Plaintiffs oral request to dismiss without prejudice defendantsTommy Tim, Mai
                          Le-Tran, Thanh Nguyen and Thanh Ngoc Tran. The Court sets the following schedule:
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?723738357073845-L_1_0-1                                              9/12
9/23/2020Case    2:20-cv-08696-JFW-KS DocumentCM/ECF      9-1 -Filed    09/23/20
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                          Amended Pleadings due by 3/27/2015. Motion cutoff W/22/2016 10:00 AM. Discovery
                          cut-off 1/5/2016. Pretrial Conference set for 3/28/2016 09:00 AM. Jury Trial set for
                          4/5/2016 09:00 AM. All discovery dispute to be brought before the Magistrate Judge
                          assigned to the case; parties reminded of requirements of FRCP 26-1(a); counsel are
                          advised all pretrial documents (as listed) must be filed in compliance with Courts Initial
                          Standing order.Court Reporter: Carol L. Zurborg. (lc) (Entered: 04/27/2015)
  04/27/2015           62 ORDER/REFERRAL to ADR Procedure No 2 by Judge S. James Otero. Case ordered to
                          Court Mediation Panel for mediation. Within twenty-one (21) days, plaintiff shall obtain
                          the consent of a neutral listed on the Court's Mediation Panel who will conduct the
                          mediation, and file form ADR-2, Stipulation Regarding Selection of Panel Mediator. If the
                          parties have not selected and obtained the consent of a Panel Mediator within twenty-one
                          (21) days, the ADR Program will assign one. (lom) (Entered: 04/28/2015)
  05/15/2015           63 STIPULATION REGARDING SELECTION of Panel Mediator filed. Parties stipulate that
                          K. Andrew Kent may serve as Panel Mediator. Plaintiff obtained the Panel Mediators
                          consent to serve. Filed by Plaintiffs BMW of North America, LLC, Bayerische Motoren
                          Werke AG(Chaney, Marcus) (Entered: 05/15/2015)
  06/03/2015           64 NOTICE OF ASSIGNMENT of Panel Mediator. Mediator (ADR Panel) K. Andrew Kent
                          has been assigned to serve as Panel Mediator. (mb) (Entered: 06/03/2015)
  06/16/2015           65 STIPULATION for Permanent Injunction as to Defendant Autosports European, Inc., A
                          California Corporation filed by Plaintiff BMW of North America, LLC, Bayerische
                          Motoren Werke AG. (Attachments: # 1 Proposed Order for Permanent Injunction and
                          Dismissal as to Defendant Autosports European, Inc.)(Pham, Christopher) (Entered:
                          06/16/2015)
  06/17/2015           66 PERMANENT INJUNCTION AND DISMISSAL AS TO DEFENDANT AUTOSPORTS
                          EUROPEAN, INC., A CALIFORNIA CORPORATION. Each party shall bear their own
                          attorneys fees and costs incurred in this matter. Defendant, the case shall be dismissed as
                          to Defendant only, without prejudice (SEE DOCUMENT FOR SPECIFICS) filed by Judge
                          S. James Otero (lc) (Entered: 06/18/2015)
  07/21/2015           67 STIPULATION for Permanent Injunction as to Defendant Ruben Aceves, an Individual
                          d/b/a Unleashed Wheels filed by Plaintiff BMW of North America, LLC, Bayerische
                          Motoren Werke AG. (Attachments: # 1 Proposed Order for Permanent Injunction and
                          Dismissal as to Defendant Ruben Aceves, an Individual d/b/a Unleashed Wheels)(Chaney,
                          Marcus) (Entered: 07/21/2015)
  07/22/2015           68 PERMANENT INJUNCTION AND DISMISSAL AS TO DEFENDANT RUBEN
                          ACEVES, AN INDIVIDUAL D/B/A UNLEASHED WHEELS filed by Judge S. James
                          Otero (lc) (Entered: 07/23/2015)
  08/12/2015           69 Joint STIPULATION for Protective Order filed by Plaintiffs BMW of North America,
                          LLC, Bayerische Motoren Werke AG. (Attachments: # 1 Proposed Order [Proposed]
                          Protective Order)(Chaney, Marcus) (Entered: 08/12/2015)
  08/14/2015           70 PROTECTIVE ORDER by Magistrate Judge Patrick J. Walsh. re Stipulation for Protective
                          Order 69 (sbou) (Entered: 08/17/2015)
  09/15/2015           71 STIPULATION for Permanent Injunction as to Defendant EG Savings, Inc. d/b/a
                          Audiocitywheels filed by Plaintiffs BMW of North America, LLC, Bayerische Motoren
                          Werke AG. (Attachments: # 1 Proposed Order [Proposed] Permanent Injunction Against
                          Defendant EG Savings, Inc. d/b/a Audiocitywheels And Dismissal)(Chaney, Marcus)
                          (Entered: 09/15/2015)
  09/23/2015           72 STIPULATION for Preliminary Injunction as to Defendant EUDM Autosports, Inc., a
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?723738357073845-L_1_0-1                                                10/12
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                                                                        Central District

                          New York corporation filed by Plaintiffs BMW of North America, LLC, Bayerische
                          Motoren Werke AG. (Attachments: # 1 Proposed Order)(Chaney, Marcus) (Entered:
                          09/23/2015)
  09/28/2015           73 PRELIMINARY INJUNCTION AGAINST EUDM AUTOSPORTS, INC., A NEW
                          YORK CORPORATION. NO POSTING OF BOND OR OTHER SECURITY
                          REQUIRED (SEE DOCUMENT FOR SPECIFICS) by Judge S. James Otero (lc)
                          (Entered: 09/29/2015)
  09/28/2015           74 AMENDED PRELIMINARY INJUNCTION AGAINST EUDM AUTOSPORTS, INC., A
                          NEW YORK CORPORATION. NO POSTING OF BOND OR OTHER SECURITY
                          REQUIRED (SEE DOCUMENT FOR SPECIFICS AND CHANGES MADE TO THIS
                          DOCUMENT) by Judge S. James Otero (lc) (Entered: 10/01/2015)
  10/21/2015           75 AGAINST DEFENDANT EG SAVINGS, INC. D/B/A AUDIOCITYWHEELS AND
                          DISMISSAL filed by Judge S. James Otero. (SEE DOCUMENT FOR SPECIFICS). (lc)
                          (Entered: 10/21/2015)
  11/13/2015           76 STIPULATION for Permanent Injunction as to Defendant EUDM Autosports, Inc., a New
                          York corporation filed by Plaintiffs BMW of North America, LLC, Bayerische Motoren
                          Werke AG. (Attachments: # 1 Proposed Order Permanent Injunction against Defendant
                          EUDM Autosports, Inc., a New York corporation, and Dismissal)(Chaney, Marcus)
                          (Entered: 11/13/2015)
  11/16/2015           77 PERMANENT INJUNCTION AGAINST DEFENDANT EUDM AUTOSPORTS, INC.,
                          A NEW YORK CORPORATION, AND DISMISSAL filed by Judge S. James Otero (lc)
                          (Entered: 11/17/2015)
  12/31/2015           78 NOTICE of Settlement filed by Plaintiffs BMW of North America, LLC, Bayerische
                          Motoren Werke AG. (Chaney, Marcus) (Entered: 12/31/2015)
  01/05/2016           79 SCHEDULING NOTICE OF SETTING ORDER TO SHOW CAUSE HEARING RE
                          DISMISSAL by Judge S. James Otero. The Court has reviewed the Notice of Settlement
                          [#78] and sets an Order to Show Cause Re Dismissal Hearing for Monday, 2/8/2016 @
                          08:30 AM before Judge S. James Otero. If the parties file the appropriate dismissal
                          pursuant to FRCP 41 prior to hearing date, this matter will be taken off the Court's
                          calendar and no appearance will be required.THERE IS NO PDF DOCUMENT
                          ASSOCIATED WITH THIS ENTRY. (vcr) TEXT ONLY ENTRY (Entered: 01/05/2016)
  01/12/2016           80 NOTICE of Change of Attorney Business or Contact Information: for attorney Jeffrey A
                          Kobulnick counsel for Defendant Inovit, Inc.. Changing Firm Name to BRUTZKUS
                          GUBNER ROZANSKY SEROR WEBER LLP. Changing E-Mail to
                          jkobulnick@brutzkusgubner.com, mbrutzkus@brutzkusgubner.com,
                          jrothberg@brutzkusgubner.com. Filed by Defendant Inovit, Inc.. (Kobulnick, Jeffrey)
                          (Entered: 01/12/2016)
  01/28/2016           81 STIPULATION for Permanent Injunction as to Defendant Inovit, Inc., a California
                          Corporation filed by Plaintiffs BMW of North America, LLC, Bayerische Motoren Werke
                          AG. (Attachments: # 1 Proposed Order Permanent Injunction against Defendant Inovit,
                          Inc., a California Corporation, and Dismissal of Entire Action)(Chaney, Marcus) (Entered:
                          01/28/2016)
  01/29/2016           82 PERMANENT INJUNCTION AGAINST DEFENDANT INOVIT, INC., A
                          CALIFORNIA CORPORATION, AND DISMISSAL OF ENTIRE ACTION filed by
                          Judge S. James Otero. (SEE DOCUMENT FOR FURTHER DETAILS) (MD JS-6. Case
                          Terminated) (vv) (Entered: 02/01/2016)
  02/02/2016           83 REPORT ON THE DETERMINATION OF AN ACTION Regarding a Patent or
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?723738357073845-L_1_0-1                                            11/12
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                          Trademark. (Closing) (vv) (Entered: 02/02/2016)



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